Case 2:25-cv-01963-MEF-MAH   Document 299   Filed 06/11/25   Page 1 of 14 PageID:
                                   3624


                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


  MAHMOUD KHALIL,
                                            No. 25-cv-01963 (MEF)(MAH)
             Petitioner,
                                                 OPINION and ORDER
       v.

  DONALD TRUMP et al.,


             Respondents.



                             Table of Contents

 I.    Background
       A.   The Facts
       B.   Procedural History
       C.   The Court’s Approach
 II.   Preliminary Injunction Requirements
       A.   Success
       B.   Harm
       C.   Equities
       D.   Public Interest
 III. The Preliminary Injunction
                               *     *      *

 Federal officials detained a lawful permanent resident and seek
 to remove him from the United States for two reasons.

 One reason is that the Secretary of State has determined that
 his activities and presence in the United States “compromise a
 compelling . . . foreign policy interest.”

 The lawful permanent resident filed a habeas corpus petition and
 has moved to preliminarily enjoin federal officials from
Case 2:25-cv-01963-MEF-MAH   Document 299   Filed 06/11/25   Page 2 of 14 PageID:
                                   3625


 removing him from the United States based on the Secretary’s
 determination.

 The motion is granted.

                               *     *      *

 I.     Background

        A.   The Facts

 The relevant facts for now are as follows.
 A lawful permanent resident1 was arrested by federal officials.
 See Declaration of Amy E. Greer (ECF 11-1) ¶¶ 4-6.
 He remains in immigration custody. See Petitioner’s Amended
 Memorandum of Law in Support of Motion for Preliminary
 Injunctive Relief (ECF 124) (“Motion for Preliminary
 Injunction”) at 1–2.
 The Department of Homeland Security is seeking to remove him
 from the United States on two grounds.
 The first ground:
 In 2024, the lawful permanent resident inaccurately completed
 his lawful-permanent-resident application. See DHS Evidence,
 Tab 2 (Apr. 9, 2025) (Form I-485); see also Additional Charges
 of Inadmissibility (Mar. 17, 2025) (ECF 90-1) (“Additional
 Charges”) at 1.
 This can be a basis for removal. See Additional Charges at 1;
 see also 8 U.S.C. §§ 1182(a)(6)(C)(i), 1227(a)(1)(A).
 The second ground for removal:
 The Secretary of State determined that the lawful permanent
 resident’s continued activities or presence in the United States
 would “compromise a compelling . . . foreign policy interest.”
 Memorandum from Marco Rubio, Secretary of State, to Kristi Noem,
 Secretary of Homeland Security (ECF 198-1) (“Determination”), at
 1.
 Such a determination can also be a basis for removal.            See 8
 U.S.C. § 1227(a)(4)(C).


 1    Mahmoud Khalil.

                                     2
Case 2:25-cv-01963-MEF-MAH   Document 299   Filed 06/11/25   Page 3 of 14 PageID:
                                   3626


       B.   Procedural History

 The lawful permanent resident filed a habeas corpus petition in
 federal court. See ECF 2.
 From here, he is called “the Petitioner.” The various people he
 named in the petition are called “the Respondents.”2
 The Petitioner moved to preliminary enjoin his removal from the
 United States. See ECF 66.3
 The preliminary injunction motion became fully submitted on May
 14, with the filing of the parties’ last legal brief. See ECF
 256.
 On May 28, the Court ruled on the motion.
 As to the first ground of removal, related to the Petitioner’s
 alleged failure to accurately complete the lawful-permanent-
 resident application, the Court denied the motion.
 The Court held that the Petitioner had put forward no evidence,
 see Khalil v. Trump, 2025 WL 1514713, at *54 (D.N.J. May 28,
 2025), and also had not meaningfully developed legal arguments.
 See id. at *52–53.
 As to the second ground of removal, related to the Secretary of
 State’s determination, the Court held the Petitioner was likely
 to succeed on the merits of his claim, see id. at *52, but had
 not sufficiently addressed the other things a preliminary
 injunction applicant must show. See id. at *55.




 2  The Respondents are listed in the current habeas petition as:
 President of the United States Donald Trump; Acting Field Office
 Director of New York, United States Immigration and Customs
 Enforcement, William P. Joyce; Warden of Elizabeth Contract
 Detention Facility Yolanda Pittman; Acting Director of United
 States Immigration and Customs Enforcement Caleb Vitello;
 Secretary of the United States Department of Homeland Security
 Kristi Noem; Secretary of the United States Department of State
 Marco Rubio; and Attorney General of the United States Pamela
 Bondi.
 3  For a fuller description of the relevant procedural history,
 see Khalil v. Trump, 2025 WL 1514713, at *2–3 (D.N.J. May 28,
 2025).
                                     3
Case 2:25-cv-01963-MEF-MAH   Document 299   Filed 06/11/25   Page 4 of 14 PageID:
                                   3627


 As to these matters, the Court indicated it would allow the
 record to be supplemented. See id.; see also ECF 273.
 The Petitioner said that he would need just under a week to do
 so. See Petitioner’s Letter (May 29, 2025) (ECF 274). The
 Court set a briefing schedule accordingly, see ECF 275, and the
 final brief was filed yesterday. See ECF 295.

       C.   The Court’s Approach

 To obtain a preliminary injunction, the Petitioner must show
 four things. See Winter v. Nat. Res. Def. Council, Inc., 555
 U.S. 7, 20 (2008).
 He must establish that “he is [1] likely to succeed on the
 merits, [2] that he is likely to suffer irreparable harm in the
 absence of preliminary relief, [3] that the balance of equities
 tips in his favor, and [4] that an injunction is in the public
 interest.” Id. Of these, the “most critical” elements are the
 first and second. See Nken v. Holder, 556 U.S. 418, 434 (2009).
 The Court considers each of these four below, see Part II, and
 concludes that a preliminary injunction should issue as to the
 Secretary of State’s determination. The preliminary
 injunction’s terms are set out in Part III.

 II.   Preliminary Injunction Requirements

       A.   Success

 To obtain a preliminary injunction as to the Secretary’s
 determination, the Petitioner must first show that he is likely
 to succeed on the merits of his claim. See Winter, 555 U.S. at
 20.
 He has made this showing.     See Khalil, 2025 WL 1514713, at *56.

       B.   Harm

 Next, the Petitioner must demonstrate that he is likely to
 suffer irreparable harm without preliminary relief. See Winter,
 555 U.S. at 20.
 The Court concludes that he has done so.
                               *     *      *



                                     4
Case 2:25-cv-01963-MEF-MAH   Document 299   Filed 06/11/25   Page 5 of 14 PageID:
                                   3628


 First, the Petitioner states that the Secretary’s determination
 has cost him a job, see Declaration of Mahmoud Khalil (“Khalil
 Declaration”) (June 4, 2024) (ECF 281-1) ¶¶ 15–16, and damaged
 his career prospects through “career-ending” professional harm.
 See id. ¶¶ 15-17 (describing a hoped-for career in “diplomacy
 and international affairs,” steps taken down that road, and the
 difficulty of sustaining such a career in light of the
 Secretary’s determination). The Respondents do not contest
 this. See Respondents’ Letter (June 9, 2025). And as a legal
 matter, serious long-term damage to career prospects can count
 as irreparable harm.4 See Kamdem-Ouaffo v. Task Mgmt. Inc., 792
 F. App’x 218, 222 (3d Cir. 2019) (citing Morton v. Beyer, 822
 F.2d 364, 372 n.13 (3d Cir. 1987)); Acierno v. New Castle Cnty.,
 40 F.3d 645, 654 (3d Cir. 1994); see also Carson v. Am. Brands,
 Inc., 450 U.S. 79, 89 & n.16 (1981); Valley v. Rapides Parish
 Sch. Bd., 118 F.3d 1047, 1055-56 (5th Cir. 1997); NAACP, Inc. v.
 Town of E. Haven, 70 F.3d 219, 224 (2d Cir. 1995).
                               *     *      *
 Second, the Petitioner states that the Secretary’s determination
 harms his reputation. See Khalil Declaration ¶¶ 3, 8–10, 16,
 22. Again, the Respondents have opted not to contest this. See
 Respondents’ Letter (June 9, 2025). And when it cannot be
 compensated through money damages, as cannot readily be done
 here, reputational injury can count as irreparable harm. See,
 e.g., Guardian Life Ins. Co. of Am. v. Est. of Cerniglia, 446 F.
 App’x 453, 456 (3d Cir. 2011); Kos Pharms., Inc. v. Andrx Corp.,
 369 F.3d 700, 726 (3d Cir. 2004); Pappan Enters., Inc. v.
 Hardee’s Food Sys., Inc., 143 F.3d 800, 805 (3d Cir. 1998);
 accord, e.g., Life Spine, Inc. v. Aegis Spine, Inc., 8 F.4th
 531, 546 (7th Cir. 2021); Register.com., Inc. v. Verio, Inc.,
 356 F.3d 393, 404 (2d Cir. 2004); Rent-a-Center, Inc. v. Canyon
 Television & Appliance Rental, Inc., 944 F.2d 597, 603 (9th Cir.
 1991); see also 11A Charles Alan Wright & Arthur R. Miller,
 Federal Practice & Procedure § 2948.1 (4th ed. 2025) (“Injury to
 reputation . . . is not easily measurable in monetary terms, and
 so often is viewed as irreparable.”); Bennington Foods LLC v.




 4  Loss of employment, standing on its own, generally would not.
 See Morton, 822 F.2d at 372; Moteles v. Univ. of Pa., 730 F.2d
 913, 919 (3d Cir. 1984); 1 Moore’s Manual --- Federal Practice
 and Procedure § 10A.22(2)(c) (2025).
                                     5
Case 2:25-cv-01963-MEF-MAH   Document 299   Filed 06/11/25   Page 6 of 14 PageID:
                                   3629


 St. Croix Renaissance, Grp., LLP, 528 F.3d 176, 178–79 (3d Cir.
 2008).
                               *     *      *
 Third, the Petitioner states that the Secretary’s determination
 deters him from engaging in speech-related activities. In
 particular, the Petitioner states that he engaged in protest
 activities, see Khalil Declaration ¶ 12, and that “[a]s I remain
 detained because of the [Secretary of State’s] [d]etermination,
 . . . I am unable to protest.” Id. ¶ 13.5
 Again, the Respondents have not contested this factually.             See
 Respondents’ Letter (June 9, 2025).6
 And per the Supreme Court, “chilling” of speech counts as
 irreparable harm. See Elrod v. Burns, 427 U.S. 347, 373 (1976)
 (plurality opinion); see also, e.g., Hartman v. Moore, 547 U.S.
 250, 256 (2006); Riley v. Nat’l Fed’n of the Blind of N.C.,
 Inc., 487 U.S. 781, 794 (1988); Wooley v. Maynard, 430 U.S. 705,
 714 (1977).7


 5  The Petitioner’s speech-related activities concern political
 speech. See Petition ¶¶ 22–23, 26, 29; Khalil Declaration
 ¶¶ 12–14; Declaration of Noor Ramez Abdalla (Mar. 14, 2025)
 (ECF 55) ¶¶ 6–8; see also Khalil, 2025 WL 1232369, at *45-46.
 And political speech is entitled to special protection under the
 First Amendment. See id. at *45.
 6  There is ample record evidence that the Petitioner engaged in
 speech-related activities. See Third Amended Petition (ECF 236)
 (“Petition”) ¶¶ 22–29; Khalil Declaration ¶¶ 12–14; Declaration
 of Noor Ramez Abdalla (Mar. 14, 2025) (ECF 55) ¶¶ 6–8. And also
 that he would return to these activities if detention did not
 prevent him from doing so. See Khalil Declaration ¶¶ 13–14, 23;
 Petition ¶ 72; see also Khalil Declaration ¶¶ 9–12; Declaration
 of Veronica Salama, Exhibit B (“Abdalla June 4 Declaration”)
 ¶ 26; Petition ¶ 22; cf. Falcone v. Dickstein, 92 F.4th 193, 210
 (3d Cir. 2024). (The Petition has been verified. See Khalil
 Declaration ¶ 1. Therefore, the Court treats it as evidence.
 See, e.g., K-2 Ski Co. v. Head Ski Co., 467 F.2d 1087, 1088 (9th
 Cir. 1972); see also Bascom Food Prods. Corp. v. Reese Finer
 Foods, Inc., 715 F. Supp. 616, 624 n.14 (D.N.J. 1989).)
 7  Three things. First, the underlying likely legal violation
 here relates to unconstitutional vagueness. See Khalil, 2025 WL


                                     6
Case 2:25-cv-01963-MEF-MAH   Document 299   Filed 06/11/25   Page 7 of 14 PageID:
                                   3630


 To be sure, it might be argued that the Petitioner would be
 detained anyway. After all, as noted above, the Department of
 Homeland Security is seeking to remove the Petitioner based not
 only on the Secretary of State’s determination --- but also on a
 second basis, the Petitioner’s alleged failure to accurately




 1514713, at *52. But a chilling effect on speech can count as
 an irreparable harm even where the underlying legal violation is
 not itself a First Amendment violation. See, e.g., Reporters
 Comm. for Freedom of the Press v. Rokita, 751 F. Supp. 3d 931,
 943-44, 947 (S.D. Ind. 2024) (so holding); Ctr. for Individual
 Freedom, Inc. v. Ireland, 2008 WL 1837324, at *5 (S.D. W. Va.
 Apr. 22, 2008) (same); Alexander v. Thornburgh, 713 F. Supp.
 1278, 1287-88 (D. Minn. 1989) (same); cf. Walls v. Sanders, 733
 F. Supp. 3d 721, 741 (E.D. Ark. 2024) (holding that a vague
 statute that assertedly chills teachers’ classroom speech does
 not count as irreparable injury because “when . . . teachers
 speak in the course of carrying out . . . required employment
 obligations, they have no personal interest in the content of
 that speech”) (cleaned up). To be sure, causation principles
 require a tight nexus between the underlying legal violation and
 the chilling impact on speech. Cf. Goldie’s Bookstore v. Super.
 Ct. of Cal., 739 F.2d 466, 472 (9th Cir. 1984). Here, the Court
 finds, there is plainly that sort of close link. Second, the
 Petitioner seems to suggest that his detention may itself count
 as irreparable harm. See Petitioner’s Letter (June 4, 2025)
 (ECF 280) at 1 & n.1. But there are cases that tug in different
 directions on this. Compare, e.g., Arevalo v. Hennessy, 882
 F.3d 763, 767 (9th Cir. 2018), and United States v. Bogle, 855
 F.2d 707, 710-11 (11th Cir. 1988), with Watkins v. Muhammad,
 2024 WL 4524525, at *3 (7th Cir. Oct. 18, 2024) (“[T]he ordinary
 hardships [such as pretrial detention] experienced by criminal
 defendants do not rise to the level of irreparable harm.”); see
 also Respondents’ Letter (June 9, 2025) (ECF 288) at 2
 (discussing this point in the immigration context). The
 Petitioner’s legal briefs do not meaningfully discuss this or
 cite cases in support of his position. Third, as part of his
 irreparable-harm filing, the Petitioner put forward evidence to
 suggest the Secretary’s determination has chilled the speech of
 third parties. But the Petitioner makes no legal argument as to
 how that can count as irreparable harm here. See, e.g., Kansas
 v. United States, 124 F.4th 529, 534 (8th Cir. 2024) (“The
 irreparable-harm analysis focuses on the moving party, not . . .
 [a] third party.”) (cleaned up).

                                     7
Case 2:25-cv-01963-MEF-MAH   Document 299   Filed 06/11/25   Page 8 of 14 PageID:
                                   3631


 complete his lawful-permanent-resident application.            See
 Additional Charges at 1.
 Maybe the Petitioner would be detained, in any event, on that
 second basis. And if so, it might be argued, there would not be
 any incremental chilling effect from detaining the Petitioner
 for an additional reason, the Secretary of State’s
 determination.
 But that argument does not work.
 The reason: the evidence is that lawful permanent residents are
 virtually never detained pending removal for the sort of alleged
 omissions in a lawful-permanent-resident application that the
 Petitioner is charged with here. And that strongly suggests
 that it is the Secretary of State’s determination that drives
 the Petitioner’s ongoing detention --- not the other charge
 against him.
 On this point, there are three relevant pieces of evidence.
 (Again, none of this is contested by the Respondents. See
 Respondents’ Letter (June 9, 2025).)
 First, Kerry Doyle8 states in a declaration that “[l]awful
 permanent residents . . . are . . . certainly not detained,


 8   Doyle’s relevant experience:
             I served as Principal Legal Advisor (PLA),
             for Immigration Customs Enforcement (ICE)
             from September 2021 through September 2024.
             In that role, I oversaw the more than 1,500
             attorneys and staff who work for the Office
             of the Principal Legal Advisor (OPLA) across
             the country. As PLA, I was responsible for
             establishing the direction and priorities of
             our office in alignment with the Office of
             General Counsel (OGC), ICE, and DHS
             leadership. During that time, I also served
             on detail as Acting Deputy General Counsel,
             Office of General Counsel (OGC), Department
             of Homeland Security (DHS) from February
             2024 through May 2024 and as Deputy General
             Counsel from October 2024 through December
             2024. I was appointed as an Immigration


                                     8
Case 2:25-cv-01963-MEF-MAH   Document 299   Filed 06/11/25   Page 9 of 14 PageID:
                                   3632


 based solely on the types of allegedly missing information
 described [here][.]” Declaration of Veronica Salama, Exhibit P
 (ECF 281-16) ¶ 18.
 Second, per Stacy Tolchin: “it is incredibly rare to see a
 lawful permanent resident detained . . . for[, as in this case,]
 having failed to disclose a past membership or association on
 the application for adjustment of status.” Declaration of
 Veronica Salama, Exhibit L (ECF 281-12) ¶ 13 (emphasis added).
 Tolchin, whose experience is extensive, see id. ¶¶ 1, 4–5, says
 this:
             I have represented at least ten permanent
             residents who have been placed into removal
             proceedings after they were denied
             naturalization. The only ones who were
             detained were those who had criminal
             convictions that DHS believed made them
             removable, in addition to being ineligible
             for naturalization.
 Id. ¶ 17.
 And all the more so, per Tolchin, as to one of the questions
 that the Petitioner allegedly answered inaccurately, given the
 history of “many” federal immigration officials essentially
 ignoring this question, see id. ¶ 12; see also id. ¶ 8; the
 question’s asserted vagueness, see id. ¶¶ 7–11; the case law
 that has developed under it, see id. ¶¶ 13–14; and the
 particular context here. See id. ¶ 15.
             As relevant to [the Petitioner]’s case, it
             is incredibly rare to see a lawful permanent
             resident detained . . . for having failed to
             disclose a past membership or association on
             the application for adjustment of status.



             Judge and served in that position from
             December 2024 through mid-February 2025.
             In private practice, I have represented many
             hundreds of noncitizens in removal
             proceedings.
 Declaration of Veronica Salama, Exhibit P (ECF 281-16) ¶¶ 3–4.
                                     9
Case 2:25-cv-01963-MEF-MAH   Document 299   Filed 06/11/25   Page 10 of 14 PageID:
                                    3633


 Id. ¶ 16.
 The third declaration is Ira J. Kurzban’s.9
 He states that, in general, lawful permanent residents are
 typically not detained by the immigration judge unless detention
 is mandatory. See Kurzban Declaration ¶ 14. “[I]t is extremely
 unusual for a lawful permanent resident charged . . . [for]
 making material misrepresentations to be detained pending
 removal proceedings absent aggravating circumstances such as a
 criminal record.” Id. ¶ 15; see also id. ¶ 16. And all of that
 generally tracks with this case.10
 The Doyle, Tolchin, and Kurzban declarations are each based on
 extensive professional experience. They are written in a
 careful way. And they back each other up; they are mutually
 reinforcing, one to the next.
 Based on the declarations, the Court finds as a matter of fact
 that it is overwhelmingly likely that the Petitioner would not
 be detained based solely on the lawful-permanent-resident-
 application charge. Rather, the Court finds, the Petitioner’s
 detention almost surely flows from the charge that is based on
 the Secretary of State’s determination.11


 9  Kurzban’s relevant experience: a leading immigration-law
 scholar, see Declaration of Veronica Salama, Exhibit K (ECF 281-
 11) (“Kurzban Declaration”) ¶ 4, and practitioner, see id. ¶¶ 2–
 3, 5–7, who has been counsel of record on various landmark
 Supreme Court cases. See id. ¶ 6.

 10 The Petitioner has no criminal record. See Khalil
 Declaration ¶ 5. The Secretary of State’s determination does
 not say that he has been involved in criminal activity or
 violence. See Determination at 1–2. And the Respondents have
 not put forward any evidence as to involvement by the Petitioner
 in violence, destruction of property, or any other sort of
 criminal activity.
 11 The Petitioner also states that even “[b]eyond [his]
 immediate detention,” Khalil Declaration at ¶ 14, the Secretary
 of State’s determination chills his speech. The Court credits
 this, and finds as a factual matter that even if the Petitioner
 were not detained, or even if he were detained on another basis,
 the Secretary’s determination would deter him from speaking.


                                     10
Case 2:25-cv-01963-MEF-MAH   Document 299   Filed 06/11/25   Page 11 of 14 PageID:
                                    3634


                                *    *      *
 To sum up:
 The Respondents have not contested the evidence put forward by
 the Petitioner, and in light of that the Court finds as a matter
 of fact that the Petitioner’s career and reputation are being
 damaged and his speech is being chilled --- and this adds up to
 irreparable harm.

        C.   Equities

 So far, the Court has held that the Petitioner is likely to
 succeed on the merits and would suffer irreparable harm without
 an injunction. See Part II.A and Part II.B.
 Now the Court considers the third requirement for an
 injunction.12 Has the Petitioner shown “that the balance of
 equities tips in his favor”? Winter, 555 U.S. at 20.
 Yes.
 The Respondents can have little or no interest in applying the
 relevant underlying statutes in what is likely an
 unconstitutional way. See A.C.L.U. v. Ashcroft, 322 F.3d 240,
 251 n.11 (3d Cir. 2003), aff’d and remanded, 542 U.S. 656 (2004)
 (“[N]either the Government nor the public generally can claim an
 interest in the enforcement of an unconstitutional law.”).
 And “[w]hen a plaintiff is claiming the loss of a First
 Amendment right, courts commonly rule that even a temporary loss
 outweighs any harm to defendant and that a preliminary
 injunction should issue.” 11A Charles Alan Wright & Arthur R.
 Miller, Fed. Prac. & Proc. Civ. § 2948.2 (3d ed. 2025) (citing
 Ramirez v. Collier, 595 U.S. 411, 433 (2022); Roman Cath.
 Diocese of Brooklyn v. Cuomo, 592 U.S. 14, 19 (2020); Yang v.
 Kosinski, 960 F.3d 119, 136 (2d Cir. 2020); Cmty. House, Inc. v.
 City of Boise, 490 F.3d 1041, 1059 (9th Cir. 2007)); accord


 This is in part because of the vagueness associated with the
 determination’s underlying approach. That makes it hard to know
 what speech might potentially be covered, see Khalil, 2025
 WL 1514713, at *37–42, and more likely that a person will curb
 his speech. See id. at *41 n.63.
 12 This third requirement is less important than the first two.
 See Nken, 556 U.S. at 434.
                                     11
Case 2:25-cv-01963-MEF-MAH   Document 299   Filed 06/11/25   Page 12 of 14 PageID:
                                    3635


 Amalgamated Transit Union Loc. 85 v. Port Auth. of Allegheny
 Cnty., 39 F.4th 95, 109 (3d Cir. 2022).

       D.    Public Interest

 Finally, the Petitioner must show “that an injunction is in the
 public interest.” Winter, 555 U.S. at 20.13
 “[T]he public has no interest in the enforcement of what is very
 likely an unconstitutional statute.” Odebrecht Constr., Inc. v.
 Sec’y, Fla. Dep’t of Transp., 715 F.3d 1268, 1290 (11th Cir.
 2013); accord, e.g., Schrader v. Dist. Att’y of York Cnty., 74
 F.4th 120, 128–29 (3d Cir. 2023); Chamber of Com. of U.S. v.
 Edmondson, 594 F.3d 742, 771 (10th Cir. 2010).
 And on the other side of the ledger, there is a chilling effect
 on speech. See Amalgamated Transit Union Loc. 85, 39 F.4th at
 109 (“There is a strong public interest in upholding the
 requirements of the First Amendment. And, if a plaintiff
 demonstrates both a likelihood of success on the merits and
 irreparable injury, it almost always will be the case that the
 public interest will favor the plaintiff.”) (cleaned up).

 III. The Preliminary Injunction

 All four preliminary injunction factors point in the same
 direction. See Part II. In light of that, the Court exercises
 its discretion, see Benisek v. Lamone, 585 U.S. 155, 158 (2018),
 and holds:
 First, the Respondents are preliminarily enjoined from seeking
 to remove the Petitioner from the United States based on the
 Secretary of State’s determination, as reflected in the
 Secretary’s memorandum to the Secretary of Homeland Security.
 Second, because the Court’s preliminary injunction bars the
 Respondents from seeking to remove the Petitioner based on the
 Secretary’s determination, the Respondents are also




 13 This fourth requirement is less important than the first two.
 See Nken, 556 U.S. at 434.


                                     12
Case 2:25-cv-01963-MEF-MAH   Document 299   Filed 06/11/25   Page 13 of 14 PageID:
                                    3636


 preliminarily enjoined from detaining the Petitioner based on
 the Secretary of State’s determination.14
 The Court hereby stays its preliminary injunction for around 40
 hours, until 9:30AM on June 13. This is to allow the
 Respondents to seek appellate review should they wish to.
 In addition, the preliminary injunction shall not go into effect
 unless and until the Petitioner posts a nominal bond in the
 amount of $1, consistent with the requirement of Federal Rule of
 Civil Procedure 65(c).15
                                *    *      *


 14 The two holdings set out in the text have no impact on
 efforts to remove the Petitioner for reasons other than the
 Secretary of State’s determination.
 15 The Respondents have requested the posting of a bond. See
 Respondents’ Opposition to Petitioner’s Motion for a Preliminary
 Injunction (ECF 156) at 35. But they have not specified any
 costs associated with complying with a preliminary injunction
 that they would seek to get back if the injunction were undone
 on appeal. See id.; see generally Instant Air Freight Co. v.
 C.F. Air Freight, Inc., 882 F.2d 797, 804–05 (3d Cir. 1989)
 (“[T]he bond serves to inform the plaintiff of the price they
 can expect to pay if the injunction was wrongfully issued.”);
 see also Frank’s GMC Truck Ctr., Inc. v. Gen. Motors Corp., 847
 F.2d 100, 103 (3d Cir. 1988). The Court is unaware of any such
 costs. See Zambelli Fireworks Mfg. Co. v. Wood, 592 F.3d 412,
 426 (3d Cir. 2010); Siegel v. Platkin, 653 F. Supp. 3d 136, 161
 (D.N.J. 2023); Koons v. Reynolds, 649 F. Supp. 3d 14, 45 (D.N.J.
 2023); Beattie v. Line Mountain Sch. Dist., 992 F. Supp. 2d 384,
 397 (M.D. Pa. 2014); Stilp v. Contino, 629 F. Supp. 2d 449, 468
 (M.D. Pa. 2009), aff’d and remanded, 613 F.3d 405 (3d Cir.
 2010). To be sure, if the Respondents opt to appeal, some of
 their attorneys’ time would be occupied. But a Rule 65 bond
 does not typically aim to cover the costs associated with
 attorneys’ fees. See Tullock v. Mulvane, 184 U.S. 497, 510–12
 (1902) (quoting Oelrichs v. Spain, 82 U.S. (15 Wall.) 211, 230–
 31 (1872)); Nokia Corp. v. InterDigital, Inc., 645 F.3d 553, 560
 (2d Cir. 2011); Fireman’s Fund Ins. Co. v. S.E.K. Constr. Co.,
 436 F.2d 1345, 1351–52 (10th Cir. 1971); Sionix Corp. v.
 Moorehead, 299 F. Supp. 2d 1082, 1086 (S.D. Cal. 2003); Minn.
 Power & Light Co. v. Hockett, 105 F. Supp. 2d 939, 942 (S.D.
 Ind. 1999); 11A Charles Alan Wright & Arthur R. Miller, Fed.
 Prac. & Proc. Civ. § 2954 & n.1.
                                     13
Case 2:25-cv-01963-MEF-MAH   Document 299   Filed 06/11/25   Page 14 of 14 PageID:
                                    3637
